                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA,                      )
                                                )
                      Plaintiff,                )
                                                )
 v.                                             )
                                                )
                                                )                  No. 3:20-CR-97-TAV-HBG
 WILLIAM CURTIS LEE,                            )
 WILLIAM HOLLEY, JR.,                           )
 JAMES CANTY, III,                              )
 JASON T. NICHOLS, and                          )
 TOCARRA L. PORTER,                             )
                                                )
                      Defendants.               )


                               MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This case came before the Court on December 14, 2020,

 for a telephonic motion hearing and pretrial conference. Assistant United States Attorney Brent

 Nelson Jones appeared by telephone on behalf of the Government. The following defense

 counsel also appeared by telephone: Attorney A. Philip Lomonaco for Defendant William Curtis

 Lee; Attorney R. Deno Cole for Defendant William Holley, Jr.; Attorney Ray E. Richards, Jr.,

 for Defendant James Canty, III; Attorney Christopher J. Oldham for Defendant Jason T. Nichols;

 and Attorney Kimberly A. Parton for Defendant Tocarra L. Porter. All Defendants were excused

 from this hearing.

        Defendant William Holley moves the Court to continue the December 29, 2020 trial date

 and extend all pretrial deadlines in this case [Doc. 40]. He argues that defense counsel needs




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 additional time to review discovery and engage in plea negotiations. The motion relates that the

 Government has no objection to a continuance. At the telephonic motion hearing, Mr. Cole

 stated that the parties are engaged in meaningful plea negotiations at this time. He said he had

 discussed the motion to continue with Defendant Holley, who understands the need for a

 continuance and is waiving his speedy trial rights in relation to the motion. Mr. Lomonaco stated

 that Defendant Lee joins in the motion to continue. He stated that he had entered the case

 recently and that the case involves considerable discovery.

        Mr. Richards also joined in the motion for a continuance on behalf of Defendant Canty.

 He stated that Defendant Canty has not yet been arraigned. Mr. Richards said he was permitted

 to appear pro hac vice this morning and has not yet received the discovery. Mr. Oldham took no

 position on behalf of Defendant Nichols. Ms. Parton also joined in the motion to continue for

 Defendant Porter. AUSA Jones said the Government does not oppose the requested continuance.

 He said he would be mailing the discovery to Mr. Richards. The parties agreed on a new trial

 date of June 15, 2021.

                The Court finds Defendant Holley’s motion to continue the trial and schedule is

 joined by Defendants Lee, Canty, and Porter; unopposed by Defendant Nichols and the

 Government; and well-taken. The Court finds that the ends of justice served by granting a

 continuance outweigh the interest of the Defendants and the public in a speedy trial. 18 U.S.C. §

 3161(h)(7)(A). First, the December 29, 2020 trial date must be continued pursuant to the

 Standing Orders of this Court. On November 30, 2020, Chief United States District Judge Travis

 R. McDonough issued Standing Order SO-20-21, continuing all jury trials between November

 30, 2020, and January 15, 2021. This Standing Order finds that due to the “reduced ability to

 obtain an adequate spectrum of jurors and the risks posed to the jurors and the public due to the



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 increased prevalence of COVID-19 in all divisions, the Court specifically finds that the ends of

 justice served by ordering the continuances outweigh the best interests of the public and any

 defendant’s right to a speedy trial” between November 30, 2020, and January 15, 2021. E.D.TN

 SO-20-21. In the Standing Order, the Court finds this time to be excluded under the Speedy

 Trial Act. E.D.TN SO-20-21.


                 Additionally, the Court finds that counsel for the Defendants need additional time

 to review the discovery, to consider the filing of pretrial motions, and to prepare the case for

 trial. Counsel for Defendants Lee and Holley seek additional time to review the discovery.

 Attorney Richards has just entered the case and has not yet seen the discovery. 1 Moreover, the

 Court observes that a sixth defendant has yet to appear in this case. Thus, the Court finds that

 defense counsel need additional time to confer with their clients, to prepare and litigate pretrial

 motions, to interview witnesses, and to prepare the case for trial. The Court finds that the

 remaining trial preparations cannot take place by the December 29 trial date or in less than six

 months. Thus, the Court concludes that without a continuance, defense counsel would not have

 the reasonable time necessary to prepare for trial, even proceeding with due diligence. See 18

 U.S.C. § 3161(h)(7)(B)(iv).


                 The motion to continue the trial [Doc. 40] is GRANTED, and the trial of this case

 is reset to June 15, 2021. The Court finds that all the time between the December 14, 2020

 motion hearing and the new trial date of June 15, 2021, is fully excludable time under the Speedy

 Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(7)(A)-(B); E.D.TN SO-20-21.

 At the telephonic hearing, the Court also set a new schedule in this case, which is stated in detail

 below.

 1
     Defendant Canty first appeared and was arraigned on December 15, 2020.
                                                  3

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       Accordingly, it is ORDERED as follows:

         (1) Defendant Holley’s Motion to Continue Trial and to Extend
             Deadlines [Doc. 40] is GRANTED. The oral motions to join in
             this motion by Defendants Lee, Canty, and Porter are also
             GRANTED;

         (2) The trial of this matter is reset to commence on
             June 15, 2021, at 9:00 a.m., before the Honorable Thomas A.
             Varlan, United States District Judge;

         (3) All time between the December 14, 2020 motion hearing and the
             new trial date of June 15, 2021, is fully excludable time under the
             Speedy Trial Act for the reasons set forth herein;

         (4) The deadline for filing pretrial motions is extended to January 29,
             2021. Responses to motions are due on or before February 12,
             2021;

         (5) The parties are to appear before the undersigned for a final pretrial
             conference on May 17, 2021, at 1:30 p.m. This date is also the
             deadline for filing a plea agreement in the record and providing
             reciprocal discovery;

         (6) Motions in limine must be filed no later than May 31, 2021; and

         (7) Requests for special jury instructions with appropriate citations to
             authority pursuant to Local Rule 7.4. shall be filed on or before
             June 4, 2020.

                     IT IS SO ORDERED.


                                            ENTER:


                                            United States Magistrate Judge




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